

U.S. Bank N.A. v CCCF Riv. Glen Holdings, Inc. (2019 NY Slip Op 09186)





U.S. Bank N.A. v CCCF Riv. Glen Holdings, Inc.


2019 NY Slip Op 09186


Decided on December 20, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, DEJOSEPH, NEMOYER, AND TROUTMAN, JJ.


1184 CA 19-00029

[*1]U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR THE REGISTERED HOLDERS OF BANC OF AMERICA COMMERCIAL MORTGAGE INC., COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-2, ACTING BY AND THROUGH ITS SPECIAL SERVICER C-III ASSET MANAGEMENT LLC, PLAINTIFF-APPELLANT,
vCCCF RIVER GLEN HOLDINGS, INC., KMART CORPORATION, CAYUGA COMMUNITY COLLEGE, DEFENDANTS-RESPONDENTS, ET AL., DEFENDANT. (APPEAL NO. 1.) 






KILPATRICK TOWNSEND &amp; STOCKTON LLP, NEW YORK CITY (KEITH M. BRANDOFINO OF COUNSEL), FOR PLAINTIFF-APPELLANT.
COSTELLO, COONEY &amp; FEARON, PLLC, CAMILLUS (ANTHONY R. HANLEY OF COUNSEL), FOR DEFENDANT-RESPONDENT CCCF RIVER GLEN HOLDINGS, INC.
J. GREENBERGER, PLLC, NEW YORK CITY (JORDAN GREENBERGER OF COUNSEL), FOR DEFENDANT-RESPONDENT KMART CORPORATION.
BOND, SCHOENECK &amp; KING, PLLC, SYRACUSE (BRIAN J. BUTLER OF COUNSEL), FOR DEFENDANT-RESPONDENT CAYUGA COMMUNITY COLLEGE.


	Appeal from an order of the Supreme Court, Oswego County (James W. McCarthy, J.), entered June 14, 2018. The order, among other things, denied those parts of plaintiff's motion to partially discontinue this action solely as against defendants Kmart Corporation and Cayuga Community College and to amend and modify the judgment of foreclosure and sale by removing Kmart Corporation and Cayuga Community College as defendants. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: December 20, 2019
Mark W. Bennett
Clerk of the Court








